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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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        FEDERAL TRADE COMMISSION,                  Case No. 2:18-cv-09573-JFW (JPRx)
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                          Plaintiff,               ORDER APPROVING
   12                                              RECEIVER’S MOTION FOR
              v.                                   AUTHORIZATION TO ENGAGE
   13                                              CONTINGENT FEE COUNSEL
        APEX CAPITAL GROUP, LLC, et al.,
   14
                          Defendants.
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              The Court having reviewed and considered the Receiver’s Motion for
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        Authorization to Engage Contingent Fee Counsel, Memorandum of Points and
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        Authorities, and Defendants’ opposition, if any, and good cause shown,
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              IT IS THEREFORE ORDERED that:
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              1.    The Receiver’s Motion for Authorization to Engage Contingent Fee
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        Counsel is GRANTED. The Receiver is authorized to enter a contingency fee
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        arrangement in the Receiver’s litigation against Wells Fargo and Company.
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   24         IT IS SO ORDERED.

   25         DATED this 9TH day of March, 2020.

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                                                    Hon. John F. Walter
   28                                               United States District Judge
                                                          Case No. 2:18-cv-09573-JFW (JPRx)
              ORDER APPROVING RECEIVER’S MOT. FOR AUTH. TO ENGAGE CONTINGENT FEE COUNSEL
